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                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

 In re
                                                            Bankruptcy
 Alexander E. Jones,                                        Case No. 22-33553 (CML)
                 Debtor,
                                                            Chapter 11


 In re
                                                            Bankruptcy
 Free Speech Systems LLC,                                   Case No. 22-60043 (CML)
                 Debtor,
                                                            Chapter 11




           PRELIMINARY WITNESS LIST FOR CONFIRMATION HEARINGS

         Neil Heslin, Scarlett Lewis, Veronique De La Rosa, Leonard Pozner, and the Estate of

Marcel Fontaine (collectively, the “Texas Plaintiffs”) preliminarily identify the following

witnesses whom they may call to testify at the confirmation hearings in the above-captioned cases,

pursuant to the Second Amended Agreed Scheduling Order for Confirmation Hearing [ECF No.

624]. The Texas Plaintiffs reserve the right to amend, revise, or supplement this preliminary

witness list.


                                          WITNESSES

                The Texas Plaintiffs may call the following witnesses:

            1. Alexander E. Jones

            2. Robert Schleizer;

            3. Patrick Magill;

            4. Jeffrey Shulse;

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           5. A representative for David Wheeler, Francine Wheeler, Jacqueline Barden, Mark
              Barden, Nicole Hockley, Ian Hockley, Jennifer Hensel, Donna Soto, Carlee Soto-
              Parisi, Carlos M. Soto, Jillian Soto Marino, William Aldenberg, William Sherlach,
              Robert Parker, and Erica L. Ash;

           6. Expert witnesses disclosed by the parties in accordance with the case schedule;

           7. Any witness listed or called by any other party; and

           8. Rebuttal witnesses as necessary.



       The Texas Plaintiffs reserve the right to call any witness listed by any other party and any

rebuttal witnesses as necessary. The Texas Plaintiffs also reserve the right to cross-examine any

witness called by any other party.




                           [Remainder of page intentionally left blank]




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Dated: March 25, 2024

 /s/ Jennifer J. Hardy
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 AND
                                                  AND
 Rachel C. Strickland (admitted pro hac vice)
 Stuart R. Lombardi (admitted pro hac vice)       CHAMBERLAIN, HRDLICKA, WHITE,
 Ciara A. Sisco (admitted pro hac vice)           WILLIAMS & AUGHTRY, PC
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 Bankruptcy Co-Counsel to the Texas               Bankruptcy Co-Counsel to the Texas
 Plaintiffs                                       Plaintiffs




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                                CERTIFICATE OF SERVICE

        I hereby certify that on March 25, 2024, a true and correct copy of the foregoing was served
via the Court’s ECF system to the parties registered to receive electronic service.

                                                      /s/ Jennifer J. Hardy
                                                      Jennifer J. Hardy




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